      Case 3:10-cr-00080-OAW      Document 82      Filed 06/22/11   Page 1 of 3




                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF CONNECTICUT


UNITED STATES,            :
     Plaintiff            :               CRIM. NO. 3:10-CR-80 (VLB)
                          :
v.                        :
                          :
SHIEKERA WILLIAMS, ET AL, :               June 16, 2011
     Defendant            :


                    ORDER OF REVOCATION AND DETENTION

      The defendant Sheikera Williams was charged by indictment on April 1,

2010 with 70 counts of bank fraud, 1 count of conspiracy to commit bank fraud

and 3 counts of aggravated identity theft. Thereafter, she was released under

section 3142 of Title 18 of the United States Code, by order of the court on June

22, 2010, Magistrate Judge Thomas P. Smith, on the conditions that she reside

with an aunt in Florida, that she submit to electronic monitoring, that she

maintain employment, that she report regularly to the probation authorities in

Florida, and that she commence an education program. Upon the

recommendation of the Probation Officer Xenia Gray, this court ordered the arrest

of the defendant to appear before the court at a hearing to determine whether she

had violated the conditions of her pretrial release.

      A hearing was conducted on Wednesday June 22, 2011 at which time the

defendant appeared with the assistance of counsel and was afforded an

opportunity to be and was in fact heard in opposition to revocation and detention.

Both the Probation Officer and the United States Attorney were also present and


                                          1
      Case 3:10-cr-00080-OAW      Document 82     Filed 06/22/11   Page 2 of 3




heard. The Probation Officer recited the facts and circumstances of the

defendant’s detention, arrest and statements to probation officers. The

Government recommended revocation and detention.

      The evidence is that on June 2, 2011 the defendant was in the driver’s seat

of a stolen rental car which had been rented under an assumed identity of a

female victim of identity theft. The defendant was at an establishment with

authority to issue licenses and registrations for motor vehicles. She was arrested

for the theft of the vehicle. There was also evidence offered that the defendant, in

violation of her home detention order, was seated in a vehicle on December 2,

2010 with an individual for whom a warrant was outstanding, in which vehicle

were found stolen means of identification and a blonde wig. Finally, the court

notes that the defendant stands accused of more than 70 counts of financial

fraud involving the alleged theft and use of identification documents, rental cars

and forged checks.

      On the basis of the totality of the record and the proffers made at the

hearing on this court finds that there is probable cause to believe that the

defendant violated the condition of her release that she not commit a Federal,

State, or local crime during the period of release in that she was arrested for the

alleged commission of grand theft auto on June 2, 2011 in Broward County,

Florida. This court concurs in the probable cause findings on the facts alleged

and finds that the defendant offers no plausible explanation to refute a probable

cause finding.




                                         2
      Case 3:10-cr-00080-OAW      Document 82     Filed 06/22/11   Page 3 of 3




      Further, on the basis of the record and the proffers made at the hearing, the

court finds that the defendant is unlikely to abide by any condition or

combination of conditions of release.

      Accordingly, the court orders revocation of the defendant’s bond and her

immediate detention.


                                             IT IS SO, ORDERED

                                             ____/s/_________

                                             Vanessa L. Bryant,
                                             United States District Judge


Dated at Hartford, Connecticut: June 16, 2011




                                         3
